Case 1:19-cv-09843-AT Document 44 Filed 10/20/21 Page 1 of1

 

 

USDC SDNY
UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK ELEC ee ALLY FILED
HENRY TUCKER, ON BEHALF OF HIMSELF DOC #: ——
AND ALL OTHER PERSONS SIMILARLY DATE FILED: _ 10/20/2021 _
SITUATED,

Plaintiff,

-against- 19 Civ. 9843 (AT)

DENNY’S CORPORATION, ORDER

Defendant.

 

 

ANALISA TORRES, District Judge:

In an order dated September 27, 2021, the Court granted Defendant’s motion to dismiss all
claims in this case and directed Plaintiff to file an amended complaint by October 12, 2021. ECF No.
43. Plaintiff has failed to do so. Accordingly, the Clerk of Court is directed to vacate all conferences
and close the case.

SO ORDERED.

Dated: October 20, 2021
New York, New York

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ANALISA TORRES
United States District Judge
